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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION


             UNITED STATES OF AMERICA,               :
                                                     :
                   v.                                :     CRIMINAL ACTION NO.
                                                     :     2:13-CR-00045-RWS
             STANLEY J. KOWALEWSKI and               :
             ELIZABETH P. WOOD,                      :
                                                     :
                          Defendant.                 :

                                                 ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation (“R&R”) [104] of Magistrate Judge J. Clay Fuller. After

             reviewing the R&R and Defendant Wood’s Objections [109] thereto, the Court

             enters the following Order.

                   Defendant Elizabeth Wood filed a Motion for a Ruling That the

             Government Must Prove That Ms. Wood Acted Willfully [94]. Based on the

             conclusion that willfulness is not an element of the offense of wire fraud, the

             R&R recommends denial of Defendant Wood’s Motion. The following factors

             were considered in deciding that willfulness is not an element of the offense.

             First, the wire fraud statute does not expressly include “willfully” as an element

             of the offense. While the Eleventh Circuit’s 2003 Pattern Jury Instructions




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             stated that a defendant must have acted “willfully and with an intent to defraud”

             to be found guilty of wire fraud, the 2010 Pattern Instructions state that the

             Government must prove that the defendant “knowingly devised or participated

             in a scheme to defraud” and “acted with an intent to defraud” and no longer

             required that the Government prove that the defendant acted “willfully.” The

             Eleventh Circuit explained the omission of “willfully” from its instructions:

                   Because of the developing Supreme Court and Eleventh Circuit
                   case law concerning the definition of the mens rea required for
                   particular crimes including the movement away from the
                   traditional dichotomy of general and specific intent crimes and the
                   variety of meanings attributed to “willfully” depending on the
                   context of a statute, the Committee recommends the elimination of
                   “willfully” from instructions where that term is not employed in
                   the statute.

             (Preface to Eleventh Circuit Pattern Jury Instructions (Criminal Cases) (2010).)

                   Finally, the R&R cites Eleventh Circuit decisions that have been decided

             since the Pattern Jury Instructions were amended that do not include willfully as

             an element of wire fraud. (R&R at 3.) The R&R fully addresses each of the

             arguments submitted by Defendant Wood.

                   In her Objections, Defendant Wood raises no new grounds that have not

             been adequately addressed in the R&R. She challenges reliance on the



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             unpublished Eleventh Circuit opinions issued after the Pattern Instructions were

             amended. She asserts that under the “prior panel rule,” this Court is bound to

             follow the decision in United States v. Ward, 486 F.3d 1212 (2007). However,

             the undersigned finds that the R&R addresses the Ward holding. As noted,

             “[t]he court in Ward did not reach or resolve the issue of whether ‘willfully’

             was an element of the wire fraud statute.” (R&R at 7.) The decision in Ward

             does not compel a different result than that recommended by Judge Fuller.

                   The Court adopts the findings and conclusions set out in the R&R as the

             Opinion and Order of this Court. Accordingly, Defendant Wood’s Motion [94]

             is hereby DENIED.

                   SO ORDERED this 29th          day of April, 2015.




                                                    ________________________________
                                                    RICHARD W. STORY
                                                    United States District Judge




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